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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION



 UNITED STATES OF AMERICA,

        V.                                                 CASE NO.:219-cr-3


 VINCENT SANDERS.




                                          AFFIDAVIT


        NOW COMES,the above-stated defendant, and gives this affidavit stating that the address
set forth in the within attached appearance bond (or personal recognizance) vdll constitute a valid
mailing address for service and notice ofall court proceedings, appearing dates, and all pleadings.

        The affiant also agrees that he/she will immediately notify the Clerk's office for the
Southern District of Georgia of any change in the above address, and further agrees that notice
sent to this address will constitute valid service of notice of proceedings in the event that he/she
moves without notifying the Clerk's office by an acceptable writing of a new address.

       ThislZ^j^ ofFebruary,2019,

                                                                 •efendant




Sworn to and subscribed before me
this         of February, 2019.




KIM^IX(
COURTROOM DEPUTY CLERK
